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                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION AT LEXINGTON
                                   CASE NO. 5:22-CV-231-DCR
                                      “Electronically Filed”

 EUGENE BAKER, et al                                                           PLAINTIFFS

 v.

 BLACKHAWK MINING, LLC
 and PINE BRANCH MINING, LLC                                                   DEFENDANTS


                                         NOTICE OF FILING


           Come the Plaintiffs, by counsel, and hereby give notice of filing of the deposition of Don

 Gibson, taken on January 29, 2024.

                                                        RESPECTFULLY SUBMITTED,


                                                        s:/Ned Pillersdorf
                                                        NED PILLERSDORF
                                                        PILLERSDORF LAW OFFICES
                                                        124 WEST COURT STREET
                                                        PRESTONSBURG, KENTUCKY 41653
                                                        PH: (606) 886-6090
                                                        FX: (606) 886-6148
                                                        pillersn@gmail.com


                                     CERTIFICATE OF SERVICE

       This is to certify that the foregoing was electronically filed on the CM/ECF server on the
      th
 20 day of February 2024.

                                                        s:/Ned Pillersdorf
                                                        NED PILLERSDORF
